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                                November

1                        UNITED STATES DISTRICT COURT
2                       CENTRAL DISTRICT OF CALIFORNIA
3       ___________________________________
                                                      )
4       NEMAN BROTHERS & ASSOC., INC., a              )
        California Corporation,                       )
5                                                     )
                Plaintiff/Counter-Defendant )
6                                                     )
              vs.                                     ) Case No.: 2:20-cv-
7                                                     ) 11181-CAS-JPR
        INTERFOCUS, INC., a California                )
8       Corporation, et al.,                          )
                                                      )
9               Defendant/Counter-Claimant            )
                                                      )
10
11
12
13
14                                  CONFIDENTIAL
15                     WEB VIDEOCONFERENCE DEPOSITION OF
16                                   WEIWEI LE
17                                    VIA ZOOM
18                               NOVEMBER 16, 2021
19
20      ATKINSON-BAKER, a Veritext Company
        500 North Brand Boulevard, Third Floor
21      Glendale, California        91203
        (800) 288-3376
22      www.depo.com
23
24      REPORTED BY:     MIRELLA O. LEYVA, RPR, CSR NO. 11614
25      FILE NO.: 4950809

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1                        UNITED STATES DISTRICT COURT
2                       CENTRAL DISTRICT OF CALIFORNIA
3       ___________________________________
                                                      )
4       NEMAN BROTHERS & ASSOC., INC., a              )
        California Corporation,                       )
5                                                     )
                Plaintiff/Counter-Defendant )
6                                                     )
              vs.                                     ) Case No.: 2:20-cv-
7                                                     ) 11181-CAS-JPR
        INTERFOCUS, INC., a California                )
8       Corporation, et al.,                          )
                                                      )
9               Defendant/Counter-Claimant            )
                                                      )
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15
16                                  CONFIDENTIAL
17
18            Web Videoconference Deposition of WEIWEI LE, taken
19      on behalf of Plaintiff/Counter-Defendant, via Zoom,
20      commencing at 10:02 a.m., Tuesday, November 16, 2021,
21      before Mirella O. Leyva, RPR, CSR No. 11614.
22
23
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25

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1                           A P P E A R A N C E S:
2               For the Plaintiff/Counter-Defendant:
3               JEONG & LIKENS, L.C.
                BY: CHAN YONG JEONG, ESQ.
4                    (Web videoconference appearance)
                222 South Oxford Avenue
5               Los Angeles, California 90004
                (213) 688-2001
6               Jeong@jeonglikens.com
7               For the Defendant/Counter-Claimant:
8               RIMON, P.C.
                BY: ZHENG LIU, ESQ.
9                    (Web videoconference appearance)
                800 Oak Grove Avenue
10              Suite 250
                Menlo Park, California 94025
11              (650) 461-4433
                zheng.liu@rimonlaw.com
12
                Also present:          Lingling Martin, Mandarin
13                                     Interpreter
14
15
16
17
18
19
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1                                     I N D E X
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3       MR. JEONG                                                       5
4
5
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11     Exhibit 4          Miscellaneous documents                      44
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1               THE REPORTER:      Good morning, my name is Mirella

2       Leyva, a California Certified Shorthand Reporter, and

3       this deposition is being held via videoconferencing

4       equipment.        The witness and reporter are not in the same

5       room.        The witness was sworn in remotely.

6

7                                   LINGLING MARTIN

8       was sworn in remotely as interpreter to translate from

9       English into Mandarin and from Mandarin into English the

10      examination and testimony of the witness, WEIWEI LE.

11

12                                      WEIWEI LE,

13      the witness herein, having been first duly sworn

14      remotely, testified in English and through the

15      interpreter as follows:

16

17                                      EXAMINATION

18              MR. JEONG:     Okay, Ms. Le indicated to her counsel

19      she can communicate in English, but from time to time

20      she may need interpreter's help.              So just in case, we've

21      arranged Madam Interpreter too.

22                      So we will generally proceed in English, but

23      whenever Ms. Le requests help from the interpreter, we

24      will let her translate everything for her.

25              Q.      Is that okay?

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1       screen now?       Exhibit 3 was the declaration of Mr. --

2       okay, declaration of Mr. -- Mr. Xiao, X-i-a-o.             The

3       information stated here, did you get that information

4       from Yinfusi?

5              A.   This information they send it directly to my

6       attorney.

7              Q.   You said you asked that question.           And what

8       did they give you?

9              A.   They provide -- so I asked the question, and

10      they provide all the information that they can get to my

11      attorney.

12             Q.   So what is it?        What is it that they gave to

13      you?

14             A.   I believe my attorney already provide what we

15      have to you.

16             Q.   So what information by Mr. Xiao is stated in

17      his declaration?       It was not in that response from

18      Yinfusi.    Yinfusi did not give you this information?

19      Did you read this document before?

20             A.   No.

21             Q.   And did you give Mr. Xiao -- X-i-a-o -- this

22      person's contact information to your counsel?

23             A.   Yinfusi should've give my attorney directly,

24      it's not through me.         I don't know.

25             Q.   Okay.

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1       litigation?

2             A.    Did I say I'm in charge?

3             Q.    Yeah, you said in your declaration.

4             A.    Can Wang is in charge in this litigation.

5             Q.    Okay.

6                   Let's mark another document.               I was waiting

7       for this.

8                   And how much time did you spend, by the way,

9       for this litigation?

10            A.    Many times [sic].

11            Q.    How many hours, can you tell?

12            A.    It's from first litigation and the second

13      litigation total --

14            Q.    Ma'am -- ma'am, my question is this

15      litigation.

16            A.    Can you wait until I finish and ask your

17      question?

18            Q.    Okay, go ahead.

19            A.    So my question is, do you want to know

20      starting the first desist letter all the way to now, or

21      you just want to know from second desist letter all the

22      way until now?

23            Q.    My question is very clear, if you are

24      listening carefully.        For this second lawsuit, how many

25      hours did you spend?

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1       litigation?

2             A.    Did I say I'm in charge?

3             Q.    Yeah, you said in your declaration.

4             A.    Can Wang is in charge in this litigation.

5             Q.    Okay.

6                   Let's mark another document.               I was waiting

7       for this.

8                   And how much time did you spend, by the way,

9       for this litigation?

10            A.    Many times [sic].

11            Q.    How many hours, can you tell?

12            A.    It's from first litigation and the second

13      litigation total --

14            Q.    Ma'am -- ma'am, my question is this

15      litigation.

16            A.    Can you wait until I finish and ask your

17      question?

18            Q.    Okay, go ahead.

19            A.    So my question is, do you want to know

20      starting the first desist letter all the way to now, or

21      you just want to know from second desist letter all the

22      way until now?

23            Q.    My question is very clear, if you are

24      listening carefully.        For this second lawsuit, how many

25      hours did you spend?

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 1                   Yinfusi directly contacted your counsel;

 2       correct?

 3              A.   I don't know.

 4              Q.   So you gave Yinfusi contact information to

 5       your counsel; correct?

 6              A.   (No audible response.)

 7              Q.   Is that hard to understand?

 8              A.   No, I -- I -- I didn't give my attorney's

 9       information to Yinfusi.

10              Q.   Do not change my question.            My question is,

11       did you give Yinfusi contact information to your

12       counsel?

13              A.   I didn't.

14              Q.   Then how -- how would -- and then did you give

15       your counsel's contact information to Yinfusi?

16              A.   Because I'm not the only one.

17              Q.   No, that's not my question.            I'm not asking

18       why.    I'm asking, did you give your counsel's contact

19       information to Yinfusi?

20              A.   No.

21              Q.   And how would they contact each other?

22              A.   Probably somebody else give it, not me.

23              Q.   Who did?

24              A.   I don't know.

25              Q.   I thought you were in charge of this

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 1               MR. JEONG:     I also want your communication with

 2       Xiao, X-i-a-o, because that's not privileged.                  So you

 3       are communicating with third-party witness, and I want

 4       that.     If it is either you or Mark Lee, whoever that is,

 5       I want that -- communications, and also I want the

 6       communications with -- there was another one --

 7       Changuang Tao, C-h-a-n-g- -- g-u-a-n [sic], T-a-o.                     I

 8       want the communications with them too.                  That's not

 9       privileged.

10               MS. LIU:     And we dispute that, but we'll -- we'll

11       discuss that with you off the record.

12               MR. JEONG:     Okay.

13                    I am speaking loud.         I -- I thought it was

14       helping her and, first of all, I'm doing this for Madam

15       Reporter because Madam Reporter a few times asked me to

16       kind of speak up because she could not hear me.                  And

17       speaking slow, I'm -- I'm trying to speak slow so

18       that -- I want her to understand the question.                  And the

19       thing is, whenever she needed she ask for the help of

20       the interpreter anyways.          So, yeah, I mean, I'm just

21       saying that for the record anyways.

22               MS. LIU:     Just try because, you know, she -- she --

23       you know, the witness gets upset when -- when she feels

24       that you are yelling.

25               MR. JEONG:     It appear that she get upset whenever

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 1             Q.    Yeah, July -- so you don't remember what you

 2       wrote in your declaration?

 3             A.    I -- I remember the declaration.            The accused

 4       items, right, the products?         To be clear, I said, I

 5       don't remember it's from -- it's for the first

 6       litigation.     It's not second litigation.           So now which

 7       litigation we talking about?

 8             Q.    It's not about which litigation, it's about

 9       whether you remember or not.

10             A.    So my job, it just ask the product team to

11       take down the accused products.           My job is not to

12       remember all details on this lawsuit.             So my declaration

13       I state -- I asked -- I receive the letter.              I asked the

14       product team in Yinfusi to take down as soon as

15       possible.

16             Q.    I'm asking you about Yinfusi, besides you

17       telling them try to not buy similar designs with Neman

18       Brothers.     Did you -- did you do anything, or did you

19       say anything?

20             A.    Yes, I asked them to take down all the

21       products and do not put on the similar items.

22             Q.    I'm talking about after the settlement of the

23       first lawsuit, you said you talked to Yinfusi and tried

24       to not buy and sell similar designs with Neman Brothers?

25             A.    Not similar designs with Neman Brothers.             It's

                                                                   Page 85

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 1       only accused items, the items that you listed on the

 2       first lawsuit.

 3             Q.    That's it?

 4             A.    Yes.

 5             Q.    Did you ask them to do anything to avoid

 6       future lawsuits?

 7             A.    Yes, just from the -- the first lawsuit items,

 8       "Don't put on any similar items back to the Web site

 9       again."

10             Q.    So, besides saying those things, did you ask

11       them to do anything further to avoid future lawsuits or

12       infringement of any -- any others' copyrights or Neman

13       Brothers' copyrights?

14             A.    I think I answered the question before, just,

15       "Do not" --

16             Q.    I'm just trying to confirm I got all the

17       information from you.

18             A.    Yes, yes, yes.        So for Neman Brothers, right,

19       it's, "Do not put back on the Web site" for the similar

20       items that -- which listed on the first lawsuit, and

21       also asked them to avoid those name brand -- similarity

22       with the name brand.

23             Q.    Now, we were discussing about whether you

24       asked about the identity of the fabric manufacturer who

25       had that -- who printed that design printed on the

                                                                 Page 86

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 1       communicate with your counsel when I'm asking questions.

 2       Just listen to me and -- because I saw you looking to

 3       your counsel, so don't do that.

 4                    I'm asking you that InterFocus may think, "Oh,

 5       you know what, this design has no owner, so I" -- "I

 6       have the right to use it," or "You know what, my vendor

 7       made it," or "My vendor's vendor made it, so they said

 8       it's fine, so I own it," or "I can use it."              So not just

 9       necessarily about Neman Brothers' permission.

10               A.   Uh-huh.

11               Q.   Does InterFocus have any right or permission

12       to use the subject designs?

13               A.   Yes, I think so.

14               Q.   Why?

15               A.   Because those are purchased from open market,

16       so --

17               Q.   So "open market" means what?

18               A.   Open market just -- you get it everywhere.             So

19       you log into Web site, and you can purchase.

20               Q.   So while that is in the open market, you can

21       use that design?

22               A.   My understanding is, yes.

23               Q.   So then that's InterFocus' understanding?            So

24       whatever is in the market, anybody can freely use it --

25       the design?

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 1             MS. LIU:      Objection.    Asks for legal conclusion.

 2             MR. JEONG:      No, I'm talking about InterFocus on the

 3       sending, what -- what they -- she's saying InterFocus

 4       thinks it could use it because they bought it from open

 5       market.

 6             Q.    So I'm asking, does InterFo- -- is that -- is

 7       that the reason why InterFocus believed like anything

 8       that's in the open market, InterFocus can freely use it?

 9             MS. LIU:      Objection.    Asks for legal conclusion.

10       BY MR. JEONG:

11             Q.    Okay.     Anyways, please answer, Ms. Le.

12             A.    So let's say if the product -- I know

13       it's from Gucci and I saw somewhere exactly the same and

14       sell cheaper -- much cheaper, and I bought it, so I

15       know, before, this is not authorized by Gucci, and I

16       still tried to buy and resell, that's wrong.           But if

17       something -- and I go to the market and it's everywhere

18       and I purchased and I re-selled [sic] on our Web site, I

19       think it's -- it's okay.

20             Q.    Okay, I get it.

21                   Does InterFocus have written agreement giving

22       permission to use any of the subject designs?

23             A.    Can you -- can you repeat it again?

24             Q.    So when I'm saying, "some of the designs," I'm

25       talking about those three designs --

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 1             A.    Uh-huh.

 2             Q.    -- in this case, Neman Brothers claimed to

 3       own; right?

 4             A.    Uh-huh.

 5             Q.    And my question is, does InterFocus have any

 6       written agreement to use any of the subject design,

 7       like, "Okay, you can use it," like they have an

 8       agreement in writing?       Does InterFocus have it?

 9             A.    We don't have those in writing from Neman

10       Brothers.

11             Q.    And then, if not Neman Brothers, anybody else

12       is fine?    Does -- does InterFocus have any writing -- in

13       writing any agreement to allow InterFocus to use any of

14       the subject designs?

15             A.    The thing is, we don't know this fabric -- it

16       belong to anybody else, so how can we get the agreement

17       in writing to sell this product?           That's international

18       (phonetic) property, so --

19             Q.    The thing is, you don't have it -- InterFocus

20       does not have it; correct?

21             A.    (No audible response.)

22             Q.    I mean, I'm just asking.          I'm not blaming you

23       or judging you at all, I'm just asking.

24                   So if there's no writing, then you can --

25       agreement in writing, you can say, "No, we don't have

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 1                                   CERTIFICATE

 2                                         OF

 3                             DEPOSITION OFFICER

 4

 5                 I, Mirella O. Leyva, Certified Shorthand

 6       Reporter, in and for the State of California, do hereby

 7       certify under the laws of the State of California:

 8                 That the testimony in the foregoing transcript

 9       is the Web videoconference deposition taken before me at

10       the time and place therein set forth, at which time the

11       witness was duly sworn by me through the interpreter;

12                 That the testimony of the witness and all

13       objections made at the time of the examination were

14       recorded stenographically by me and were thereafter

15       transcribed, and that the foregoing pages contain a true

16       record of the testimony given by the witness.

17                 In witness whereof, I have subscribed my name

18       this date:    November 18, 2021.

19

20

21                                          <%27447,Signature%>

                                         MIRELLA O. LEYVA, CSR, RPR

22                                       Certificate No. 11614

23

24

25

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 1    CHAN YONG JEONG, ESQ.

 2    Jeong@jeonglikens.com

 3                                                     NOVEMBER 18, 2021

 4    RE: NEMAN BROTHERS & ASSOC., INC. VS. INTERFOCUS, INC., ET AL.

 5    NOVEMBER 16, 2021, WEIWEI LE, JOB NO. 4950809

 6    The above-referenced transcript has been

 7    completed by Veritext Legal Solutions and

 8    review of the transcript is being handled as follows:

 9    __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10       to schedule a time to review the original transcript at

11       a Veritext office.

12    _X_Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13       Transcript - The witness should review the transcript and

14       make any necessary corrections on the errata pages included

15       below, notating the page and line number of the corrections.

16       The witness should then sign and date the errata and penalty

17       of perjury pages and return the completed pages to all

18       appearing counsel within the period of time determined at

19       the deposition or provided by the Code of Civil Procedure.

20    __ Waiving the CA Code of Civil Procedure per Stipulation of

21       Counsel - Original transcript to be released for signature

22       as determined at the deposition.

23    __ Signature Waived – Reading & Signature was waived at the

24       time of the deposition.

25

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